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                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF GEORGIA

 SARAH MACK, individually and on behalf of all                        CLASS ACTION
 others similarly situated,
                                                                 Case No. 1:21-cv-04470-AT
       Plaintiff,
                                                                JURY TRIAL DEMANDED
 vs.

 CONFLUENCE GROUP II, LLC d/b/a
 ORANGETHEORY FITNESS CUMBERLAND,

   Defendant.
 ______________________________________/

                            NOTICE OF DISMISSAL WITH PREJUDICE

           Plaintiff, Sarah Mack, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), does

hereby dismiss this action as follows:

           1.       All claims of the Plaintiff, Sarah Mack, individually, are hereby dismissed with

prejudice.

           2.       All claims of any unnamed member of the alleged class are hereby dismissed

without prejudice.

Date: December 29, 2021

Respectfully Submitted,

Shamis & Gentile, P.A.
/s/ Andrew J. Shamis
Andrew J. Shamis, Esq.
Georgia Bar No. 494196
ashamis@shamisgentile.com
14 NE 1st Avenue, Suite 705
Miami, FL 33132
Telephone: 305-479-2299

Counsel for Plaintiff
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on December 29, 2021, I electronically filed the foregoing document
with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being
served this day on all counsel identified below via transmission of Notices of Electronic Filing
generated by CM/ECF or in some other authorized manner.

Respectfully submitted,
                                             SHAMIS & GENTILE, P.A.
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                                             Miami, FL 33132
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                                     By:      /s/ Andrew J. Shamis
                                              Andrew J. Shamis, Esq.
                                              Georgia Bar No. 494196


                                             Counsel for Plaintiff
